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 6                            IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,                  )        Case №:2:16-cr-00020 TLN
                                                )
 9                   Plaintiff,                 )                    ORDER
                                                )               APPOINTING COUNSEL
10           vs.                                )
                                                )
11   MARTY MARCIANO BOONE,                      )
                                                )
12                   Defendant.                 )
                                                )
13
14
            The court relieved the Federal Defender in court on March 8, 2018. CJA Panel attorney
15
     Kresta Daly is hereby appointed under the Criminal Justice Act (CJA), 18 U.S.C. § 3006A(a),
16
     effective March 8, 2018, the date the Office of the Federal Defender first contacted her.
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     Dated: March 12, 2018
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22                                         Troy L. Nunley
                                           United States District Judge
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     ORDER APPOINTING COUNSEL                        1
